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                                                                        3:20-mj-00149

STATE OF OREGON                        )
                                       ) ss:                  AFFIDAVIT OF BRIAN DESENS
County of Multnomah                    )

             Affidavit in Support of a Criminal Complaint and Arrest Warrant

       I, Brian Desens, being duly sworn, do hereby depose and state as follows:

                              Introduction and Agent Background

       1.       I am employed as a Special Agent (SA) with the Federal Protective Service (FPS)

and have been employed by FPS since October 2017. I have participated in several

investigations relating to the protection of federal facilities and personnel. I am currently

assigned to the FPS Headquarters Rapid Protection Force. I graduated from the Federal Law

Enforcement Training Academy (FLETC) Criminal Investigator Training Program in 2018, and

FLETC’s Uniformed Police Training Program in 2013. I received a bachelor’s degree in Law

and Justice from Central Washington University in 2015.

       2.      I submit this affidavit in support of a criminal complaint and arrest warrant for

Gretchen Margaret BLANK. As set forth below, I have probable cause to believe that BLANK

forcibly assaulted, resisted, impeded, and interfered with federal officers, in violation of 18

U.S.C. § 111(a)(1).

       3.      The facts set forth in this affidavit are based on the following: my own personal

knowledge, knowledge obtained from other individuals during my participation in this

investigation, including other law enforcement officers, interviews of witnesses, my review of

records related to this investigation, communication with others who have knowledge of the

events and circumstances described herein, and information gained through my training and

experience. Because this affidavit is submitted for the limited purpose of establishing probable


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cause in support of an application for an arrest warrant, it does not set forth each fact that I or

others have learned during this investigation.

                                          Applicable Law

         4.      18 U.S.C. § 111 makes it an offense to forcibly assault, resist, oppose, impede,

intimidate, or interfere with any person designated in 18 U.S.C. § 1114 while engaged in or on

account of the performance of official duties. Under § 111(a), simple assault is a misdemeanor;

an assault involving physical contact with the victim or an intent to commit another felony is a

felony. Persons designated in § 1114 include any officer or employee of the United States or of

any agency in any branch of the United States government while such officer or employee is

engaged in or on account of the performance of official duties, and any person assisting such an

officer or employee in the performance of official duties.

                                   Statement of Probable Cause

         5.      Since on or about May 26, 2020, protesters have gathered in Portland public

areas, including Lownsdale Square, Chapman Square, and Terry Schrunk Plaza. The Justice

Center, which contains Portland Police Bureau’s (PPB) Central Precinct and the Multnomah

County Detention Center (MCDC), and the Mark O. Hatfield United States Courthouse, are

directly across the street from those parks. The United States of America owns the entire city

block (Block #24) occupied by the Hatfield Courthouse, as depicted below. 1




1
  The federal government owns the entire city block occupied by the Mark O. Federal
Courthouse. Easements have been granted for the sidewalks surrounding the facility. The
property boundary extends past the sidewalks and into the streets surrounding the courthouse.

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       6.      Daily protests have regularly been followed by nightly criminal activity in the

form of vandalism, destruction of property, looting, arson, and assault. Most violent of these

impacting federal property occurred on May 28, 2020, when the Portland Field Office for the

Immigration and Customs Enforcement (ICE) was targeted by a Molotov Cocktail. The Hatfield

Courthouse has experienced significant damage to the façade and building fixtures during the six

weeks following that incident. Additionally, mounted building security cameras and access

control devices have been vandalized or stolen. The most recent repair estimate for the damage

at the Hatfield Courthouse exceeds $50,000, and there has been additional and extensive damage

since then. Other federal properties in the area routinely being vandalized include the historic

Pioneer Federal Courthouse, the Gus Solomon Courthouse, and the Edith Green Wendall Wyatt

Federal Office Building. FPS law enforcement officers, Deputy U.S. Marshals, and other federal

law enforcement officers working to protect the Hatfield Courthouse have been subjected to


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threats, aerial fireworks (including mortars), high intensity lasers targeting officers’ eyes, thrown

rocks, bottles, and balloons filled with paint, and vulgar language from demonstrators while

preforming their duties.

       7.      On July 5, 2020, at approximately 2:38 a.m., Gretchen BLANK assaulted,

obstructed, resisted, impeded, and interfered with FPS and United States Border Patrol (USBP)

agents during the performance of their official duties. BLANK assaulted USBP Agent

Christopher Smilo with a shield and obstructed, impeded, and interfered with agents who were

trying to arrest another individual suspected of assaulting USBP Agent Michael Marino with a

laser. These actions contributed to USBP Agent Smilo being pushed off balance and diverted

USBP Agent Michael Newborn’s attention from the arrest of the original suspect.

       8.      On July 5, 2020, at approximately 3:00 a.m., Agent Marino told me he was at the

corner of SW Third Avenue and SW Salmon Street when he was hit in the chest by a green laser.

The laser moved up from his chest into his face, hitting him in the eyes for a moment. The laser

was moved to target other officers and agents in the area. Agent Marino saw the person who was

using the laser to target him and other officials standing across the street at SW Third and SW

Salmon, near a parking entrance garage. Agent Marino saw that person attempting to target

other officers with the laser. Agent Marino said the person was lit up by ambient light from

either a street lamp or exterior building lighting. Agent Marino pointed the subject out to other

agents and broadcast information about the suspect over his radio. Agent Marino saw the

suspect tuck back into the parking garage entrance, where he appeared to speak to a woman. The

suspect then came out of the garage entrance and walked north on SW Third Avenue towards

SW Taylor St. The suspect was taken into custody by an arrest team at SW Third Avenue and


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SW Taylor St. During the arrest, Agent Marino saw a woman carrying a shield attempt to run

into the arrest team. Both the man and the woman were taken into custody by the arrest team.

Agent Marino said the female who attempted to run into the arrest team may have been the same

person the man was with at the parking garage entrance.

       9.       FPS Inspector Brad O’Neal told me that he was part of the team that went to

arrest the suspect who pointed the laser at Agent Marino. The suspect saw them coming and

began walking north on SW Third toward SW Taylor St. The suspect was taken to the ground at

Taylor. While they were arresting him, a woman interfered and was taken into custody as well.

       10.      USBP Agents Christopher Smilo and Michael Newburn were also part of the team

that arrested the suspect. Agent Newburn told me that their team saw the suspect walking north

on Third toward SW Taylor St. Agent Smilo attempted to take the suspect into custody. The

suspect resisted. Agent Smilo had the suspect’s right arm, while Agent Newburn was trying to

secure the suspect’s left arm, which the suspect tried to keep under his body. While they were

trying to secure the suspect, BLANK approached and tried to push Agent Smilo off the suspect

using a shield, causing Agent Smilo to lose his balance. BLANK and the suspect were both

taken into custody and were taken to the Hatfield Courthouse.

       11.      At about 3:48 a.m., Agent Miller and I attempted to interview BLANK in the

Marshals Service detention facility in the Hatfield Courthouse. BLANK provided basic

biographical information such as her name and date of birth, but, after being of her Miranda

rights, declined to make a statement.

       12.      During a follow-up interview on July 6, 2020, Agent Smilo told me BLANK hit

him in the back with some sort of shield while he was trying to arrest the male suspect, causing


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Agent Smilo to lose his balance and collide with Agent Newborn. Agent Smilo described the

shield as white in color, shaped like a stop sign, and possibly made of plastic. Agent Smilo said

that the male was actively resisting arrest. He and Agent Newburn eventually secured the male.

Agent Smilo was not sure who took BLANK into custody.

       13.      During a follow-up interview on July 6, 2020, Agent Newburn told me that the

shield BLANK used to push Agent Smilo may have been diamond shaped and appeared

“flimsy.” BLANK hit Agent Smilo in the back with the shield, causing Agent Smilo to fall into

Agent Newburn and knock Agent Newburn backwards. The male suspect continued to resist,

and it took about 30 to 45 seconds to take him into custody. Agent Newburn was not injured

during the arrest, although the male suspect was bleeding from his left elbow.

       14.      On July 6, 2020, I returned to the Hatfield Courthouse and located what I believe

was the shield BLANK used to strike Agent Smilo. The shield was in the front lobby area, by

the security screening area. The shield is flat, is white on one side with two black nylon straps,

and has a mirrored finish on the opposite side. The shield is octagonal and made mostly of a

plastic-type material. I texted pictures of the shield to Agents Smilo and Newburn. Agent

Newburn was unable to identify the shield. Agent Smilo confirmed the shield was the one

BLANK used to strike him. Photos of the shield appear below.




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                                           Conclusion

       15.      Based on the foregoing, I have probable cause to believe that Gretchen Margaret

BLANK forcibly assaulted, impeded, resisted, and interfered with federal law enforcement

agents who were performing their official duties, in violation of 18 U.S.C. § 111(a)(1). I

therefore request that the Court issue a criminal complaint and arrest warrant charging BLANK

with that offense.

       16.      Prior to being submitted to the Court, this affidavit, the accompanying complaint,

and the arrest warrant were all reviewed by Assistant United States Attorney (AUSA) Gary

Sussman. AUSA Sussman advised me that in his opinion, the affidavit and complaint are legally

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and factually sufficient to establish probable cause to support the issuance of the requested

criminal complaint and arrest warrant.


                                                     (By telephone)
                                                     Brian Desens
                                                     Special Agent
                                                     Federal Protective Service

       Sworn to by telephone or other reliable means in accordance with Fed. R. Crim. P. 4.1 at

  3:03. Xxx
_______                 6 2020.
        am/pm on July _____,



                                                     ________________________________
                                                     HONORABLE JOLIE RUSSO
                                                     United States Magistrate Judge




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